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                      Exhibit A
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 Governor Lamont Announces 2023 Legislative Proposal: Preventing Mass Shootings

Press Releases




01/26/2023



Governor Lamont Announces 2023 Legislative Proposal: Preventing Mass Shootings




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Group of Gun Violence Prevention Proposals Are the Second Set the Governor Has Announced So Far This Session


                                                            Governor Lamont Announces 2023 Legislative Proposal: Preve




(HARTFORD, CT) – Governor Ned Lamont today held a news conference in Hartford to announce the second of three sets of proposals he will introduce during the 2023 legislative
session that are focused on augmenting Connecticut’s efforts to eliminate gun violence. This particular set is concentrated on the prevention of mass shootings, and it includes:


    Closing loopholes in the state’s assault weapons ban;

    Strengthening penalties related to the state’s ban on large-capacity magazines to make that ban enforceable; and

    Increasing the age to purchase all firearms to 21.


The proposals will be included as part of the governor’s package of priorities for the 2023 legislative session that he will present to the Connecticut General Assembly in February. He
announced the first set of gun violence prevention proposals (/Office-of-the-Governor/News/Press-Releases/2023/01-2023/Governor-Lamont-Announces-2023-Legislative-
Proposal-on-Gun-Violence), which are focused on eliminating community gun violence, earlier this week. A third set will be announced in the coming days.

“As more and more mass shootings have occurred in the United States over the last decade, federal and state laws have not kept up with the innovative ways firearm companies are
manufacturing guns that have the sole purpose of killing the largest number of humans within the shortest amount of time,” Governor Lamont said. “I want to be clear – we are not
talking about guns that have been created for hunting or protection, but rather the focus here is on assault weapons that are being created for mass human casualty. We’ve shown
in Connecticut that we can implement laws that respect the rights of Americans to own guns for their own protection and sportsmanship while also acknowledging that we must
take actions to protect public safety. These proposals continue that fair, commonsense balance.”

“Connecticut has the legislative resolve and will to implement laws that respect the rights of responsible gun-owning Americans while closing the loophole on the state’s assault
weapons ban that gun manufacturers have exploited at the expense of public safety,” State Representative Steven Stafstrom, co-chair of the Judiciary Committee, said. “We
also need a strong, enforceable ban on large capacity magazines and to increase the age to purchase all firearms to 21. These are good public policy proposals aimed at preventing
terrible tragedies. I thank Governor Lamont for bringing these proposals forward and look forward to a prompt hearing on them before the Judiciary Committee.”

“There have been way too many mass shootings across our country and innocent people are losing their lives,” State Senator Herron Gaston, co-chair of the legislature’s Public
Safety and Security Committee, said. “We need to take this seriously. We need to work to close the loopholes in our system and strengthen our purchasing laws surrounding all
firearms. As co-chair of the Public Safety Committee, I am dedicated to overseeing this legislation that will curb gun violence in Connecticut.”

Closing loopholes in the state’s assault weapons ban
Connecticut’s existing assault weapons ban, which was adopted in 1994 with significant modifications in 2013, includes several loopholes that leave a few categories of weapons
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unregulated. Additionally, firearm manufacturers have made several attempts to skirt these laws by making slight modifications to assault weapons with the intention of excluding
them from the ban. To close these loopholes, Governor Lamont is proposing to expand the assault weapons ban to include the following:

    Pre-September 13, 1994 firearms: This category is frequently referred to as pre-ban weapons because they refer to the group of assault weapons that have been grandfathered in
    under Connecticut’s 1994 assault weapons ban. Pre-ban weapons include AR-style rifles and are legal to be sold, possessed, and carried into the state whether or not they have
    forward pistol grips, flash suppressors, barrel shrouds, or other features that were banned under the 2013 law. Gun dealers in other states are known to collect pre-ban
    weapons and ship them to Connecticut for sale at high prices.

    So-called “other” weapons: This category includes those assault weapons in which manufacturers have made attempts to evade the 2013 law through a technical loophole. The
    2013 law regulates only pistols, rifles, and shotguns. These are categories that are defined under Connecticut law and do not include all weapons. Several manufacturers are
    selling weapons specifically designed to fall into this loophole by having a barrel length longer than 12 inches to avoid classification as a pistol and a so-called “pistol brace” on
    the back to avoid classification as a rifle.

    Rimfire rifles: This category includes those assault weapons that are typically used for hunting but are sometimes customized into assault-weapon-style rifles to evade bans like
    those that have been implemented in Connecticut. These rifles are currently allowed if they have fewer than two banned features.


The governor is proposing to open a new registration period for these weapons to allow current owners to continue possessing them and bar future purchases and sales.

Strengthening penalties related to the state’s ban on large-capacity magazines

In 2013, a law was enacted in Connecticut banning all large-capacity magazines and requiring anyone who already owned such items prior to its enactment to register them with the
state. Under existing law, the penalty on a first offense for possession of a large-capacity magazine that was obtained before the 2013 effective date of the ban is an infraction




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requiring a $90 fine. Any subsequent offense is a class D felony, which can result in a prison sentence between one to five years and a fine of up to $5,000. As a result, on a first
offense, prosecutors have to prove in court that the magazine was obtained after the 2013 effective date. Because magazines are not serialized like firearms, this is nearly
impossible to prove.

Governor Lamont – noting that owners of large-capacity magazines obtained prior to the enactment of this 2013 law have had nearly a decade to register or dispose of those items –
is proposing that the first offense provision of this law be eliminated, and all offenses of this statute be considered a class D felony, enabling enforcement of the ban.

Increasing the age to purchase all firearms to 21

Under existing federal and state laws, anyone seeking to purchase handguns must be 21 or older, and anyone seeking to purchase most types of long guns must be 18 or older.
Governor Lamont is proposing to align these age limits by implementing a 21-or-older requirement for the purchase of all types of firearms. These purchase requirements will not
impact the ability of anyone under the age of 21 to use firearms as permitted under existing law.


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